Case: 21-1542    Document: 111   Page: 1    Filed: 04/06/2023




    United States Court of Appeals
        for the Federal Circuit
                  ______________________

                 SAS INSTITUTE, INC.,
                   Plaintiff-Appellant

                            v.

          WORLD PROGRAMMING LIMITED,
                 Defendant-Appellee
               ______________________

                        2021-1542
                  ______________________

    Appeal from the United States District Court for the
 Eastern District of Texas in No. 2:18-cv-00295-JRG, Chief
 Judge J. Rodney Gilstrap.
                  ______________________

                       JUDGMENT
                  ______________________

 THIS CAUSE having been considered, it is

 ORDERED AND ADJUDGED:

 AFFIRMED

                                  FOR THE COURT

 April 6, 2023                    /s/ Peter R. Marksteiner
    Date                          Peter R. Marksteiner
                                  Clerk of Court
